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 8                     IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,               )   NO. 2:09-cr-00209-MCE
                    Plaintiff,               )
12         v.                                )
                                             )   MOTION TO PLACE MATTER
13   ROY L. RICE,                            )   ON 9/13/12 CALENDAR FOR
                       Defendant.            )   CHANGE OF PLEA; ORDER
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15
          The United States, by AUSA Michelle Rodriguez, and defendant
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     Rice, joined by the defendant’s attorney, AFD Matthew Bockmon,
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     jointly move and stipulate that this matter be placed on this
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     Court's September 13, 2012 9:00 am calendar.        At the September 13,
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     2012 hearing, defendant Rice will enter guilty pleas
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     pursuant to a written plea agreement.       An advance copy of the plea
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     agreement will be provided to this Court's clerk.         The original
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     plea agreement will be provided to the Court during the guilty
23
     plea colloquy.
24
     Dated: 9/7/12                           BENJAMIN WAGNER
25                                           United States Attorney
                                                   /s/Michelle Rodriguez
26                                           By:
                                                 MICHELLE RODRIGUEZ
27                                               Assistant U.S. Attorney

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      Motion to Calendar COP on 9/13/12                                       1
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 1                                        ORDER

 2        HEREBY, pursuant to the motion and stipulation of the

 3   parties, IT IS ORDERED that the above referenced matter be placed

 4   on this Court's calendar on 9/13/2012 for change of plea.

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     Dated: September 12, 2012
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 7                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
 8                                         UNITED STATES DISTRICT JUDGE
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      Motion to Calendar COP on 9/13/12                                    2
